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1      RICHARD E. ZUCKERMAN
       Principal Deputy Assistant Attorney General
2
3      JEREMY N. HENDON
       CHRISTIAN MEJIA
4      JAMES PETRILA
5      Trial Attorneys, Tax Division
       U.S. Department of Justice
6      P.O. Box 683
7      Washington, D.C. 20044
       202-353-2466 (v)
8
       202-305-7548 (v)
9      202-307-6648 (v)
10     202-307-0054 (f)
       Jeremy.Hendon@usdoj.gov
11     Christian.Mejia@usdoj.gov
12     James.Petrila@usdoj.gov
13     ROBERT S. BREWER, JR.
14     United States Attorney
       Southern District of California
15     Of Counsel
16
       Attorneys for the United States of America
17
18                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
19
20      UNITED STATES OF AMERICA,     )              Case No.: 3:17-cv-515-AJB-WVG
                                      )
21             Plaintiff,             )              UNITED STATES’ MOTION
22                                    )              FOR PROTECTIVE ORDER
23             v.                     )              REGARDING DISCOVERY
                                      )              PERTAINING TO THE
24      RAJMP, INC.; JOAN M. POLITTE; )              DETERMINATION THAT
25      MERRILL LYNCH BUSINESS;       )              ROBERT A. POLITTE AND
        FINANCIAL SERVICES, INC.;     )              JOAN M. POLITTE ARE
26      CHICAGO TITLE COMPANY;        )              ALTER EGOS OF RAJMP,
27      TBC CORPORATION;              )              INC.
        SC TELECOM, LLC; WELLS FARGO )
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1       BANK, N.A.; PACIFIC WESTERN       )
        BANK; OUTFRONT MEDIA, INC.;       )
2       HALLE PROPERTIES, L.L.C.;         )
3       POFACO, INC.; COUNTY OF;          )
        SAN DIEGO; MIDAS REALTY           )
4       CORPORATION; KELLY M.;            )
5       POLITTE as the Personal           )
        Representative of the ESTATE OF   )
6
        ROBERT A. POLITTE; TED R.         )
7       POLITTE as the Personal           )
8       Representative of the ESTATE OF   )
        ROBERT A. POLITTE,                )
9                                         )
10              Defendants.               )
        _________________________________ )
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1                            DECLARATION OF COMPLIANCE
2            Counsel for all parties participated in a conference call on January 31, 2020.
3      The parties discussed the Court’s prior alter ego rulings, the United States’
4      objection to any discovery regarding Robert Politte and Joan Politte as alter egos of
5      RAJMP, Inc. (“RAJMP”), and a possible protective order precluding such
6      discovery since that issue has been decided. The parties could not come to an
7      agreement and called the Court the same day. After holding an informal
8      telephonic discovery conference, the Court ordered briefing on the issue.
9                                       INTRODUCTION
10           Despite this Court’s prior decision in the original alter ego case finding
11     Robert Politte and Joan Politte each to be an alter ego of RAJMP, which this Court
12     reaffirmed by granting the United States’ partial summary judgment on the same
13     issue in this case, Defendants continue to burden plaintiff and non-parties with
14     discovery regarding the alter ego issue. Contrary to Defendants’ contention that
15     they are raising different due process or jurisdictional arguments regarding the alter
16     ego determination, they are really just seeking yet another bite at the apple and an
17     end-run around this Court’s rulings. This is confirmed by the fact that the written
18     discovery Joan Politte recently issued to the United States in this case seeks the
19     same discovery as was sought (and obtained) in the original alter ego case.
20           Based on preclusion principles, Defendants are barred from relitigating any
21     facet of the alter ego determination, including due process or jurisdiction
22     arguments. Defendants raised or could have raised all such arguments in the
23     original alter ego case. Alternatively, the due process argument fails as a matter of
24     law and thus discovery regarding it is irrelevant. Additionally, Defendants raised
25     their jurisdiction argument in this case and the Court explicitly rejected it in
26     granting the United States’ partial summary judgment. Moreover, any reliance on
27     purported equitable principles in 26 U.S.C. § 7403 to allow discovery about alter
28     ego information is misplaced. The Polittes have been found liable for RAJMP’s

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1      federal taxes and thus are not non-liable third parties as is initially required for any
2      equitable analysis under the Supreme Court’s interpretation of Section 7403.
3            Accordingly, the Court should enter a protective order pursuant to Fed. R.
4      Civ. P. 26(c) forbidding discovery on any topic regarding Robert Politte and Joan
5      Politte as alter egos of RAJMP or the IRS’s Notice of Federal Tax Lien (“NFTL”)
6      identifying Robert Politte or Joan Politte as an alter ego of RAJMP.1
7                                          DISCUSSION
8            Upon a showing of good cause, a court may issue an order “to protect a
9      party or person from annoyance, embarrassment, oppression, or undue burden or
10     expense, including [an order] . . . forbidding the disclosure or discovery . . . [or]
11     forbidding inquiry into certain matters.” Fed. R. Civ. P. 26(c)(1)(A) and (D). This
12     Court has broad discretion to “decide when a protective order is appropriate and
13     what degree of protection is required.” Phillips ex rel. Estates of Byrd v. General
14     Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002) (quoting Seattle Times Co. v.
15     Rhinehart, 467 U.S. 20, 36 (1984)).
16           Parties are only allowed to conduct discovery that is relevant to their claims
17     or defenses and proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1).
18     Accordingly, courts have held that discovery is irrelevant, and therefore not
19     allowed, regarding dismissed or adjudicated claims or defenses. Oppenheimer
20     Fund, Inc. v. Sanders, 437 U.S. 340, 352 (1978); Andrich v. Ryan, No. CV16-
21     02734-PHX-GMS, 2017 WL 11424013, at *8 (D. Ariz. Dec. 11, 2017); Head v.
22     DistTech, LLC, No. C16-1727 RSM, 2017 WL 1303982, at *1 (W.D. Wash. Apr.
23     7, 2017); Kellogg Brown & Root Servs., Inc. v. United States, 117 Fed. Cl. 1, 9
24
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       1
26      To the extent Defendants raise arguments in their response not covered in this
       motion as to why discovery regarding alter ego is appropriate in this case, the
27     United States respectfully requests the chance to respond since any such arguments
28     were not raised on the January 31, 2020 conference call with the Court.


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1      (2014) (citing Act Now to Stop War & End Racism Coal. v. District of Columbia,
2      286 F.R.D. 117, 131 n.7 (D. D.C. 2002)). In addition, courts have found discovery
3      regarding claims and defenses that are legally insufficient to be irrelevant and
4      therefore also not allowed. Wyant v. Nationstar Mortg. LLC, No. CIV.A. 14-0422,
5      2015 WL 474323, at *2 (W.D. La. Feb. 4, 2015) (citing Hawkins v. Cnty. Of
6      Lincoln, Civ. A. 10-5001, 2013 WL 414442, at *2 (D. Neb. Jan. 31, 2013)) (“If,
7      however, a party does not have a viable claim on the theory of recovery that
8      purports to support the need for the requested discovery, then the discovery is not
9      relevant”); Fields v. QSP, Inc., No. CV12-1238 CAS (PJWx), 2012 WL 2049528,
10     *6 (C.D. Cal. June 4, 2012).
11
       I.    Discovery regarding the determination that Robert Politte and Joan
12           Politte are alter egos of RAJMP is barred by principles of preclusion
13           and is therefore irrelevant and not proportional to the needs of the case.

14           First, Defendants continue to seek discovery in this case on an issue already
15     decided by this Court- that is, whether the United States can collect against
16     property of the Polittes in order to satisfy RAJMP’s unpaid federal tax liabilities on
17     the basis that they each are an alter ego of RAJMP. At the Early Neutral
18     Evaluation in this case, the parties agreed to brief certain issues in an effort to
19     narrow issues for discovery and save costs, and to make this litigation more
20     efficient. To that end, the United States’ moved for summary judgment on Count
21     II seeking a ruling that this Court’s prior ruling in Politte v. United States, No. 07-
22     cv-1950-AJB-WVG (“original alter ego case”) conclusively established that
23     Robert Politte and Joan Politte are each an alter ego of RAJMP and each are liable
24     for the entire amount of RAJMP’s tax liability. The motion was based on
25     preclusion principles and the intent was that if granted, Joan Politte and the Co-
26     Personal Representatives of the Estate of Robert Politte (“Estate”) would be barred
27     from seeking discovery about, or challenging, any facet of the alter ego
28     determination in this case. On November 13, 2018, the Court entered its Amended

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1      Order Granting United States’ Motion for Partial Summary Judgment (ECF No.
2      146, PageID 1723-25). In that decision, the Court stated that “[t]he issue of alter
3      ego here is identical to the issue of alter ego that was decided in the previous
4      litigation.” Id. at PageID 1723.
5            Second, Defendants’ attempts to couch the issue as new, because their
6      discovery allegedly involves issues concerning the process of the alter ego
7      determination, are unpersuasive. It is undisputed that there was only one IRS
8      determination that the Polittes are each alter egos of RAJMP and thus one notice of
9      lien2 based on that determination. As this Court found in granting the United
10     States partial summary judgment on Count II, the Court’s ruling in the original
11     alter ego case applies to all of the Polittes’ property and not just to the specific
12     property at issue in the original alter ego case. Id. at PageID 1725-26. Thus, there
13     are not separate administrative determinations regarding the Polittes’ alter ego
14     status and therefore not separate attempts to challenge that determination. It was
15     all done at one time and all arguments regarding the alter ego determination,
16     substantive and procedural, could and should have been raised at that time.
17     Because Defendants’ “new” procedural due process argument regarding the alter
18     ego determination was also challengeable in the original alter ego case involving
19     the same issue (i.e. the validity of the IRS’s alter ego determination), Defendants
20     are barred from raising it here. See, e.g. Damascus v. Office of Attorney General
21     for State of California, No. C95-20073 RMW (EAI), 1995 WL 261414, at *4
22
23
       2
24       The filing of a NFTL identifying someone (here the Polittes) as the alter ego of a
       taxpayer (here RAJMP) is done to make other creditors or lienholders with respect
25     to the Polittes’ property aware that the United States intends to collect RAJMP’s
26     tax liability from the Polittes’ property as required under 26 U.S.C § 6323. It is
       called a notice of lien because the actual lien is the tax lien against RAJMP to
27     collect RAJMP’s tax liabilities and the alter ego determination is simply a theory
28     of collection.


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1      (N.D. Cal. May 2, 1995) (finding preclusion applied to bar a “new” procedural due
2      process claim plaintiff wanted to raise because there had been a prior state
3      administrative proceeding involving a disciplinary action against plaintiff wherein
4      plaintiff could have raised his due process concerns).
5            Indeed, the original alter ego case actually involved not only challenges to
6      the substantive question as to whether the Polittes are each an alter ego of RAJMP,
7      but also numerous challenges to the procedure utilized by the IRS in asserting the
8      alter ego theory of collection against the Polittes. The following non-exhaustive
9      list shows the many times counsel for Robert Politte and Joan Politte raised
10     arguments or claims regarding process and procedure pertaining to the alter ego
11     determination in the original alter ego case:
12               In all versions of the Polittes’ complaint, the Polittes asserted as part
                   of their “refund” claim under 26 U.S.C. § 7426(a)(4) that the alter ego
13                 liens were “baseless, illegal, invalid and unenforceable” (attached as
14                 Ex. 1 are copies of the four versions of the complaint);
                 In all versions of the Polittes’ complaint, the Polittes included a
15
                   second claim seeking damages for unlawful collection pursuant to 26
16                 U.S.C. § 7433 and/or 26 U.S.C. § 7426(h), but contending in various
17                 versions that the IRS violated or disregarded several Internal Revenue
                   Code provisions, Treasury Regulations, the IRS’s own internal
18                 policies and procedures, as well as the Fourth Amendment to the
19                 United States Constitution. Attached to the Third Amended
                   Complaint (as Exhibit C to that document) is the Polittes’
20                 administrative claim for damages. In this document, the Polittes
21                 assert in part that the IRS violated 26 U.S.C. §§ 6321 and 6331 as
                   well as the Fourth Amendment, that the IRS revenue officer failed to
22
                   request the advice of, and obtain written approval from, IRS counsel,
23                 and that the Polittes were not provided with notice (see Ex 1 attached
24                 to this motion, pp. 128-31)— these are process and procedure
                   arguments;
25               In the Polittes’ Motion for Partial Summary Judgment as to the Alter
26                 Ego Tax Liens, the Polittes argued in part that the IRS failed to
                   provide them with notice and demand and therefore the alter ego liens
27                 were not enforceable (Ex 2, pp. 167-69) and that the IRS could not
28                 assert that the Polittes are alter egos of RAJMP because under

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1                  California law, it would have to be RAJMP as the alter ego of the
                   Polittes and thus since the IRS identified it incorrectly on the NFTL,
2                  the NFTL was not enforceable (id. at 169-73);
3                 This Court rejected the Polittes’ arguments in its Order: Denying
                   Plaintiffs’ Motion for Partial Summary Judgment (Ex 3, pp. 205-08);
4
                  In its Order (1) Granting in Part and Denying in Part Defendant’s
5                  Motion to Strike and (2) Denying as Moot Defendant’s Motion to
6                  Clarify, the Court notes that the Polittes dropped their claim for
                   damages based on various procedural and constitutional grounds–
7                  however, this proves that the Polittes did assert them in the original
8                  alter ego case (Ex 4, p. 215).
9            Moreover, the Polittes had a full and fair opportunity to challenge the IRS’s
10     alter ego determination. For instance, the IRS offers individuals against whom the
11     IRS files a Notice of Federal Tax Lien identifying them as an alter ego the
12     opportunity for an administrative appeal within the IRS. See Treas. Reg.
13     § 301.6320-1(b)(2)- Q&A-B5 (providing for an administrative hearing before IRS
14     Appeals under its Collection Appeals Program (“CAP”)). Here, it is undisputed
15     that the Polittes availed themselves of this opportunity regarding the IRS’s alter
16     ego determination. Although individuals have no independent right to judicial
17     review of a CAP determination (see Pragasam v. Comm’r, 239 Fed.Appx. 325 (9th
18     Cir. 2007)), they have other opportunities to contest an IRS alter ego determination
19     against them. For example, they could file a quiet title action under 28 U.S.C.
20     § 2410 to have the NFTL identifying them as an alter ego removed which would
21     not require them to sell or otherwise dispose of the property first. They could also
22     seek a certificate of discharge of the lien under 26 U.S.C. § 6325(b)(4) and, if they
23     want to challenge the alter ego determination, bring a claim for a refund of the
24     monies deposited pursuant to Section 6325(b)(4) in an action under 26 U.S.C.
25     § 7426(a)(4). This is precisely what the Polittes did in the original alter ego case.
26           On the other hand, if they did not avail themselves of these options, they
27     could challenge the alter ego determination in a case where the United States seeks
28     to foreclose the federal tax liens against their property and sell the property. That


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1      would be occurring in this case, but because the Polittes already brought an action
2      under Section 7426(a)(4) that involved their challenge to the IRS’s alter ego
3      determination, they do not get a second chance here. Nor should they be entitled to
4      discovery on this issue.
5            Furthermore, to the extent that Defendants complain that due process
6      requires that they have the opportunity to challenge a NFTL identifying them as an
7      alter ego before such a NFTL is filed, that argument has been rejected. Little Italy
8      Oceanside Investments, LLC v. United States, No. 14-cv-10217, at *7-9, 2015 WL
9      4878247 (E.D. Mich. Aug. 14, 2015); see also Whitcombe v. U.S. Dept. of
10     Treasury, 922 F.2d 846 (9th Cir. 1991) (citing Commissioner v. Shapiro, 424 U.S.
11     614, 630 n.12 (1976); Bob Jones Univ v. United States, 416 U.S. 725, 746-48
12     (1974) (“A post-deprivation hearing in a tax collection matter is sufficient to meet
13     minimum due process requirements.”). Because Defendants’ due process
14     argument as justification for discovery regarding alter ego information (both
15     procedural and substantive) is based on a theory that is legally insufficient, the
16     discovery is irrelevant and should not be allowed.3 See Wyant, 2015 WL 474323,
17     at *2; Hawkins, 2013 WL 414442 at *2; Fields, 2012 WL 2049528 at *6.
18           Lastly, the written discovery Joan Politte has issued to the United States
19     further evidences that the Polittes seek to re-litigate an issue that has already been
20     decided. In particular, the written discovery in this case seeks identical
21     information that the written discovery the Polittes issued to the United States in the
22     original alter ego case sought. Attached as Ex 5 is a true and correct copy of
23     Plaintiffs First Set of Interrogatories to the United States in the original alter ego
24
25     3
        Since the discovery is irrelevant, it also would cause an undue burden and
26     expense for the United States to have to respond to it or require a witness to be
27     deposed about it, and it also would not be proportional to the needs of this case.
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1    case (“Original Rogs”) and attached as Ex 6 is a true and correct copy of
2    Defendant Joan Politte’s First Set of Interrogatories to Plaintiff United States of
3    America in this case (“Current Rogs”). Interrogatory Nos. 1-6 and 15 of the
4    Current Rogs seek the exact same information as Interrogatory Nos. 2-9 of the
5    Original Rogs.4 This demonstrates that Defendants in this case are seeking
6    duplicative discovery on the alter ego issue that not only has already been
7    provided, but is now irrelevant to any pending issue in this case.
8           Without the protective order, Defendants will continue to issue discovery,
9    and ask questions at depositions, about the alter ego determination that only seek to
10   waste time and increase costs on an issue that has been conclusively determined.
11   II.    This Court has already rejected Defendants’ proposed jurisdictional
12          argument and thus discovery regarding it should not be allowed.
13          Defendants have stated that another argument they intend to raise regarding
14   the alter ego determination is that this Court, and in fact all United States federal
15   courts, lack jurisdiction to enter orders granting a state alter ego remedy.
16   Defendants raised this exact argument in Joan Politte’s Memorandum of Points and
17   Authorities in Opposition to the United States’ Motion for Partial Summary
18   Judgment on Count II. See ECF No. 125, PageID 1452-56. This Court explicitly
19   rejected this argument in its Amended Order Granting United States’ Motion for
20   Partial Summary Judgment. See ECF No. 146, PageID 1724-25. Accordingly,
21   discovery regarding this argument is no longer appropriate.
22   III.   Defendants’ argument that alter ego discovery is relevant to equitable
23          considerations under 26 U.S.C. § 7403 is wrong as a matter of law and is
            therefore irrelevant and not proportional to the needs of this case.
24
25          Defendants have also asserted that discovery regarding alter ego matters
26
27   4
      Joan Politte also issued Requests for Admission to the United States in this case
28   wherein Request Nos. 10-15 similarly ask about alter ego issues.


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1    might be relevant to an argument regarding equitable considerations under 26
2    U.S.C. § 7403. However, Defendants’ reliance on any equitable consideration
3    required to be considered by the Court under Section 7403 is misplaced.
4          Section 7403(a) and (c) authorize a federal court to adjudicate all matters
5    and finally determine the merits of all claims and liens upon property against
6    which the United States seeks to enforce a federal tax lien. Section 7403(c)
7    provides that after adjudicating all matters and finally determining the merits of all
8    claims and liens upon the property, the court may order or decree a sale of such
9    property. Thus Section 7403 itself does not provide for the court to make any
10   equitable determinations or considerations.
11         The Supreme Court has determined that Section 7403 provides courts with
12   limited equitable discretion in determining whether to order the sale of property to
13   satisfy delinquent federal tax liabilities. United States v. Rodgers, 461 U.S. 677,
14   680 (1983); United States v. Gibson, 817 F.2d 1406, 1407 (9th Cir. 1987). Any
15   such discretion “should be exercised rigorously and sparingly, keeping in mind the
16   Government’s paramount interest in prompt and certain collection of delinquent
17   taxes.” Rodgers, 461 U.S. at 711.
18         This Rodgers limited discretion analysis applies, however, only if the owner
19   of the property at issue is not liable for the delinquent tax. Rodgers, 461 U.S. at
20   709 (“[w]e can think of virtually no circumstances, for example, in which it would
21   be permissible to refuse to authorize a sale to simply protect the interests of the
22   delinquent taxpayer himself or herself”); United States v. McGrew, No. CV14-
23   02647-RASX, 2014 WL 7877053, at *9 (C.D. Cal. Dec. 19, 2014), aff’d, 669 F.
24   App’x 831 (9th Cir. 2016). Here, because of the alter ego rulings, Robert Politte
25   and Joan Politte have been determined to be liable for RAJMP’s taxes. As such,
26   the Rodgers limited discretion analysis does not apply and discovery on this issue
27   is therefore irrelevant, burdensome, and not proportional to the needs of the case.
28         Even if the Rodgers limited discretion analysis were to apply here, courts

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1    have used that discretion to determine not to order a sale of the property at issue a
2    limited number of times and only where the property at issue is a residence owned
3    jointly by spouses, but only one spouse is liable for the taxes, and the non-liable
4    spouse has lived at the residence for years and is being forced to move. See, e.g.
5    United States v. Johns, No. 3:05-cv-308/RV/MD, 2006 WL 3086869, at *5-7
6    (N.D. Fla. Oct. 27, 2006); United States v. Johnson, 943 F. Supp. 1331, 1333-35
7    (D. Kan. 1996); United States v. Jensen, 785 F. Supp. 922, 925 (D. Utah 1992);
8    United States v. Jones, 877 F. Supp. 907, 917-20 (D. N.J. 1995). That is not the
9    situation here as not only are Robert Politte and Joan Politte each a liable party, but
10   it is undisputed that Joan Politte resides in Colorado, Robert Politte is deceased,
11   and the nine parcels of real property are commercial properties or vacant lots in the
12   San Diego area. Thus, none of the properties at issue involves the Polittes’
13   residence. Therefore, any discovery regarding the Court’s discretion to not order
14   foreclosure of any of the nine properties at issue under Section 7403 is irrelevant to
15   this case. As such, this argument cannot support Defendants’ request for discovery
16   regarding alter ego issues.
17                                     CONCLUSION
18         Based on the foregoing reasons, the Court should grant the United States’
19   Motion for a Protective Order and order that written and deposition discovery
20   pertaining to all aspects of the alter ego determination that Robert Politte and Joan
21   Politte are each an alter ego of RAJMP is prohibited.
22
           Dated: February 7, 2020.
23                                           RICHARD E. ZUCKERMAN
24                                           Principal Deputy Assistant Attorney General
25                                           /s/ Jeremy N. Hendon
                                             JEREMY N. HENDON
26                                           CHRISTIAN MEJIA
27                                           JAMES PETRILA
                                             Trial Attorneys, Tax Division
28                                           U.S. Department of Justice

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